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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
 DWIGHT RUSSELL, ET AL.
     On behalf of themselves and all
     Others similarly situated,

          Plaintiffs,

 v.                                                        C.A. No. 4:19-CV-00226

 HARRIS COUNTY, TEXAS, ET AL.,
     Defendants.


                              FELONY JUDGES’ NOTICE OF APPEAL

         Defendants Frank Aguilar, Abigail Anastasio, Ramona Franklin, Greg Glass, Nikita

Harmon, Josh Hill, Kelli Johnson, Robert Johnson, DaSean Jones, Hazel Jones, Jason Luong, Amy

Martin, Jesse McClure, III, Chris Morton, Herb Ritchie, Brock Thomas, Hilary Unger, George

Powell, and Randy Roll (“Felony Judges”) hereby appeal to the United States Court of Appeals

for the Fifth Circuit from the district court’s Order [Dkt. No. 326] of November 10, 2020. This is

an interlocutory appeal based on the denial of the Felony Judges’ entitlement to sovereign

immunity. See 28 U.S.C. § 1292; see also Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58

(1982) (“The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.”).



      Dated: November 10, 2020.

                                              Respectfully Submitted.




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                                 NOTICE OF ELECTRONIC FILING

       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Southern District
of Texas, on November 10, 2020.
                                                    /s/ Courtney Corbello
                                                    COURTNEY CORBELLO
                                                    Assistant Attorney General




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                                   CERTIFICATE OF SERVICE

        I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that a
true and correct copy of the above and foregoing has been served directly to all counsel on record
by the Electronic Case Files System of the Southern District of Texas on November 10, 2020.

                                                /s/ Courtney Corbello
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